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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

NETCHOICE, LLC d/b/a NETCHOICE, :
a District of Columbia organization; and ;

COMPUTER & COMMUNICATIONS
INDUSTRY ASSOCIATION d/b/a
CCIA, a Virginia corporation,

Plaintiffs,
V.

ASHLEY BROOKE MOODY, in her
official capacity as Attorney General of
the State of Florida; JONI ALEXIS
POITIER, in her official capacity as
Commissioner of the Florida Elections

Commission; JASON TODD ALLEN, in|

his official capacity as Commissioner of |
the Florida Elections Commission;
JOHN MARTIN HAYES, in his official |

capacity as Commissioner of the Florida |

Elections Commission; KYMBERLEE
CURRY SMITH, in her official capacity |
as Commissioner of the Florida
Elections Commission; BARBRA
STERN, in her official capacity as
Commissioner of the Florida Elections
Commission; and PATRICK
GILLESPIE, in his official capacity as

Deputy Secretary of Business Operations

of the Florida Department of
Management Services,

Defendants.

Civil Action No.: 4:21-cv-00220-RH-
MAF
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DECLARATION OF STOP CHILD PREDATORS
IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
INJUNCTION

I, Stacie D. Rumenap, declare as follows:

1. I am President at Stop Child Predators (SCP), an organization founded
in 2005, to combat the sexual exploitation of children and protect the rights of crime
victims nationwide. I have led SCP since 2006, having worked in all 50 states —
including spearheading the passage in 46 states of Jessica’s Law, which originated
in Florida — on laws and educational efforts to bring together a team of policy
experts, law enforcement officers, community leaders, and parents to launch state
and federal campaigns to inform lawmakers and the public about policy changes that
will protect America’s children from sexual predators both online and in the real
world.

2. We work with parents, lawmakers, and technology companies to better
educate families, schools, and lawmakers about the potential risks children face
online, including grooming, luring, bullying, child pornography, and other harms to
children.

3. We also launched the Stop Internet Predators (SIP) initiative in 2008
because sex offender management and child safety must be addressed both in the
real world and online. SIP recognizes that child predators often use online social-

networking platforms to recruit child sex-trafficking victims, to groom children for

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sexual exploitation, and to sexually victimize children in general. Because
previously convicted and registered sex offenders are the most identifiable and likely
class of predators to target children online, we focus our policy efforts on keeping
social media and the Internet more broadly safe for children.

4. To do this, we work with leading online platforms, including Plaintiffs’
members, to develop and enforce content-moderation and safety policies that
prioritize children’s safety while still promoting free speech. Our goal is to help
these businesses develop tools and mechanisms to identify illegal content—Child
Sexual Abuse Material—as soon as possible so that children are not exposed to
abuse.

5. Unfortunately, CSAM is prolific on the Internet. In 2018 alone, leading
social media platforms reported over 45 million photos and videos of children being
sexually abused.! In fact, there are so many reports of child exploitation that FBI and
Department of Justice officials said it would require assigning cases to every FBI
agent. The government does not presently have the resources to do that.”

6. The government’s limited resources underscore the critical importance
of private moderation and filtering technologies. In order to detect CSAM, as well

as to report it to authorities, online companies must develop and use advanced

| Katie Benner & Mike Isaac, Child-Welfare Activists Attack Facebook Over Encryption Plans, N.Y. Times (Feb. 5,
2020), https://www_nytimes.com/2020/02/05/technology/facebook-encryption-child-exploitation.html.
2 Id.

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algorithms and other screening tools.

q. If Florida’s S.B. 7072, 2021 Leg. (Fla. 2021) (the “Act”) is allowed to
go into effect on July 1, 2021, we are concerned that it would be harder to remove
objectionable content online.

8. The online platforms we work with remove millions of pieces of
content that would enable child predation and harm children. We have grave
concerns that the Act will impede their ability to remove such content and undermine

my group’s efforts to stop child predation. Not only does the Act require online

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platforms to host content—legal or not—from “journalistic enterprises,” it also
prohibits them from using algorithms in ways that could flag, remove, restrict, or
demote harmful content, including CSAM.

9. Equally concerning is the Act’s limit on the number of changes online
platforms can make to their algorithms each month. Under the Act, platforms may
not change their algorithms more than once every 30 days. This restriction all but
guarantees that the online platforms will be hamstringed in responding to new threats
to children’s online safety and to new methods of distributing or soliciting photos
and videos of child sexual abuse. It will also hinder their ability to adapt to predators’
schemes. As history and experience have shown, predators continue to find a way

around existing safeguards, requiring us, the platforms, and the public to remain ever

vigilant.
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10. Similarly, the Act’s disclosure requirements give child predators a
roadmap to escape detection. If they know how algorithms and content moderation
work in detail, they will have an even easier time preying on vulnerable children.

11. Likewise, the Act’s onerous obligations for account and content
removal will likely cause online platforms to moderate less aggressively. That is
particularly concerning at a time when we need even more moderation and even
more filtering.

12. I declare under penalty of perjury under the laws of the United States
of America that the foregoing is true and correct. Executed this 2" day of June,

2021 at 3:00 pm.

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Stacie D. Rumenap

